                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN
                            MILWAUKEE DIVISION
______________________________________________________________________________

DARLENE BRUNETT,
                                                             Case No.: 2:18-cv-00168-LA
               Plaintiff,

v.

CONVERGENT OUTSOURCING, INC.,

               Defendant.



                                              ORDER


       THIS MATTER COMING before this Court on Defendant CONVERGENT

OUTSOURCING, INC.’s Civil L.R. 7(h) Expedited Non-Dispositive Motion for an Extension of

Time to Complete Discovery and File Dispositive Motions, and the Court being fully advised in

the premises and having found that the defendant has demonstrated good cause regarding the

relief requested;

       IT IS HEREBY ORDERED:

       That the parties shall have up to and including March 1, 2019 to conduct depositions in

this case, for Plaintiff to file a motion for class certification by April 1, 2019, and the parties to

file dispositive motions by April 1, 2019 in the above-captioned matter.



                Dated at Milwaukee, Wisconsin, this 19th day of December 2018.

                                       THE COURT:


                                         s/ Lynn Adelman




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